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 6   Attorney for Defendant
 7   JULIUS CAUBAT
 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                   Case No.: 2:15-CR-00015 TLN
13                Plaintiff,
14                                                 WAIVER OF PERSONAL
                   v.                              APPEARANCE; ORDER
15
16   JULIUS CAUBAT,
17                Defendant.
18
19         Defendant JULIUS CAUBAT hereby waives the right to be present in person in
20   open court upon the hearing of any motion or other proceeding in this case, including
21   when the case is set for trial, when a continuance is ordered, when time is excluded under
22   the Speedy Trial Act, when a detention hearing is held, and when any other action is
23   taken by the Court before or after trial, except upon arraignment, plea, impanelment of
24   jury and imposition of sentence.
25
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27   //
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 1          Defendant hereby requests the Court to proceed during every absence of his which
 2   the Court may permit pursuant to this waiver; agrees that his interests will be deemed
 3   represented at all time by the presence of his attorney, the same as if defendant were
 4   personally present; and further agrees to be present in person in court ready for trial on
 5   any day which the Court may fix in his absence.
 6
 7
     DATED: January 28, 2015                                 /s/ Julius Caubat
 8                                                           JULIUS CAUBAT
                                                             Defendant
 9
10
     DATED: January 28, 2015                                 /s/ Tasha Paris Chalfant
11
                                                             TASHA PARIS CHALFANT
12                                                           Attorney for Defendant
                                                             JULIUS CAUBAT
13
14
     (Original Signatures on File at Attorney’s Office)
15
16
17
            IT IS SO ORDERED.
18
19
     DATED: February 5, 2015
20
                                                          Troy L. Nunley
21                                                        United States District Judge
22
23
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